Case: 4:15-cv-00954-HEA Doc. #: 145 Filed: 05/14/18 Page: 1 of 16 PageID #: 1061



                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MISSOURI
                          EASTERN DIVISION

CARLIS G. STEPHENS,                         )
                                            )
      Plaintiff,                            )
                                            )
vs.                                         ) Case No: 4:15CV954 HEA
                                            )
NEIL P. ZIEGMANN, et al.,                   )
                                            )
      Defendants.                           )


                   OPINION, MEMORANDUM AND ORDER

      This matter is before the Court on the following: Motion to Dismiss Party for

Improper Venue Under Rule 12(b)(3) by Defendant Justin Chick, [Doc. No. 84],

Motion to Dismiss Party for Improper Venue Under Rule 12(B)(3), Failure to State

a Claim under Rule (b)(6), and Lack of Personal Jurisdiction Under Rule 12(b)(2)

by Defendant Jay Berlin. [Doc. No. 86], Motion to Dismiss Party for Improper

Venue Under Rule 12(b)(3) and Failure to State a Claim Under Rule (b)(6) by

Defendant Stephen Chick, [Doc. No. 88], Motion to Dismiss Party for Improper

Venue Under Rule 12(b)(3), Failure to State a Claim under Rule 12(B)(6) and

Lack of Personal Jurisdiction under 12(b)(2) by Defendant Jeb Hollingshead, [Doc.

No. 90], Motion to Dismiss Party for Improper Venue, Failure to State a Claim for

Personal Liability and Lack of Personal Jurisdiction by Defendant John Chagnon,

[Doc. No. 92], Motion to Dismiss Party for Improper Venue and Lack of Personal
Case: 4:15-cv-00954-HEA Doc. #: 145 Filed: 05/14/18 Page: 2 of 16 PageID #: 1062



Jurisdiction by Defendant Fleming Outdoors, LLC., [Doc. No. 94], Motion to

Dismiss Party for Improper Venue Under Rule 12(b)(3) and Lack of Personal

Jurisdiction Under 12(b)(2) by Defendant Okie Cable & Trap Supply, LLC., [Doc.

No. 96], Motion to Dismiss Party for Improper Venue Under Rule 12(b)(3) and

Lack of Personal Jurisdiction Under Rule 12(b)(2) by Defendant Phoenix

Composite Solutions, Inc.., [Doc. No. 98], Motion to Dismiss Party for Improper

Venue and Lack of Personal Jurisdiction by Defendant Cumberland's Northwest

Trappers Supply, Inc.. [Doc. No. 100], Motion to Dismiss Party for Improper

Venue Under Rule 12(b)(3) and Lack of Personal Jurisdiction Under 12(b)(2) by

Defendant The Sportsman's Guide, Inc.. [Doc. No. 104], Motion to Dismiss Party

for Improper Venue, Failure to State a Claim for Personal Liability and Lack of

Personal Jurisdiction by Defendant Tina Schultz.[Doc. No. 107], Motion to

Dismiss Party for Failure to State a Claim Upon Which Relief Can Be Granted by

Defendant Orscheln Farm and Home, LLC., [Doc. No 110], Motion to Dismiss

Party for Improper Venue, Failure to State a Claim for Personal Liability, and Lack

of Personal Jurisdiction by Defendant James Thielen, [Doc. No. 111], Motion to

Dismiss Party for Improper Venue, Failure to State a Claim for Personal Liability,

and Lack of Personal Jurisdiction by Defendant Eric Fleming, [Doc. No. 114],

Motion to Dismiss Party for Improper Venue and Lack of Personal Jurisdiction by

Defendant Thielen Marketing, Inc., [Doc. No 117], Motion to Dismiss Party for


                                         2
Case: 4:15-cv-00954-HEA Doc. #: 145 Filed: 05/14/18 Page: 3 of 16 PageID #: 1063



Improper Venue Under Rule 12(b)(3), Failure to State a Claim Under Rule

12(b)(6), and Lack of Personal Jurisdiction Under 12(b)(2) by Defendant Neil P.

Ziegmann, Doc. No. 119], and Motion to Dismiss Party for Improper Venue Under

Rule 12(b)(3), Lack of Personal Jurisdiction Under Rule 12(b)(2), and Failure to

State a Claim Under Rule 12(b)(6) by Defendant N.P.Z., Inc., [Doc. No 122]. For

the reasons stated herein, Defendants’ Motions are granted to the extent that these

actions will be transferred, as provided herein, and dismissed.

                                  BACKGROUND

      Plaintiff’s Complaint alleges that he is the inventor of U.S. Patent No.

8,881,447B2 (“the ‘447 Patent”), which provides for a shaped trigger that

encompasses a substantial cross-section portion of the hollow body permitting

capture of animals while also preventing theft of bait.

      Plaintiff claims Defendants are infringing his ‘447 Patent by importing and

selling modified Z-Traps with CrossFire triggers, by importing and selling E-Z

Traps which have been modified to accept the CrossFire trigger, and by selling

CrossFire trigger components for use in modifying the E-Z Traps.

      Further, the Complaint alleges that Defendants Ziegmann and NPZ also

violated the Lanham Act, 15 U.S.C. § 1051, et seq., and the Patent Act, 35 U.S.C.

§ 1, et seq., by false advertising and false marking.




                                           3
Case: 4:15-cv-00954-HEA Doc. #: 145 Filed: 05/14/18 Page: 4 of 16 PageID #: 1064



      Defendants move to dismiss this case for improper venue pursuant to

Federal Rule of Civil Procedure 12(b)(3).

                                   DISCUSSION

Change in the Law of Venue

      In patent suits, venue is governed by 28 U.S.C. § 1400(b), which provides

that “[a]ny civil action for patent infringement may be brought in [1] the judicial

district where the defendant resides, or [2] where the defendant has committed acts

of infringement and has a regular and established place of business.” In 1957,

sixty-one years ago, the Supreme Court determined that for purposes of corporate

defendants, a corporation “resides” only in its state of incorporation. See Fourco

Glass Co. v. Transmirra Prods. Corp., 353 U.S. 222, 226 (1957). In so holding, the

Court rejected the argument that § 1400(b) incorporates the broader definition of

corporate “residence” contained in the general venue statute, 28 U.S.C. § 1391(c).

See id. at 228.

       Congress has not amended § 1400(b) since Fourco was decided. It has,

however, amended § 1391 twice. In 1988, Congress amended that statute to

provide that “[f]or purposes of venue under this chapter, a defendant that is a

corporation shall be deemed to reside in any judicial district in which it is subject

to personal jurisdiction at the time the action is commenced.” See TC Heartland

LLC v. Kraft Foods Group Brands LLC, 137 S. Ct. 1514 (2017)(emphasis added)


                                           4
Case: 4:15-cv-00954-HEA Doc. #: 145 Filed: 05/14/18 Page: 5 of 16 PageID #: 1065



(citation omitted). Interpreting this change, the Federal Circuit concluded that

Congress meant to amend the definition of “resides” as it appears in § 1400(b),

because that section falls in the same chapter as § 1391(c). See VE Holding Corp.

v. Johnson Gas Appliance Co., 917 F.2d 1574, 1584 (Fed. Cir. 1990). Accordingly,

the Federal Circuit held that in a patent case, a corporation resided anywhere it was

subject to personal jurisdiction—greatly expanding the venue options for plaintiffs.

In so holding, it found that Congress had effectively legislatively abrogated

Fourco's prior venue standard. See id. at 1583-84.

      For twenty-seven years, from 1990 until 2017, VE Holding was the

governing standard on the matter of venue in patent litigation, and none of the

parties here dispute that fact. Indeed, as recently as 2016, the Federal Circuit

reaffirmed its holding in VE Holding and explicitly stated that the argument that

Congress had meant by its 2011 amendments to return to the rule in Fourco was

“utterly without merit or logic.” See In re TC Heartland LLC, 821 F.2d 1338, 1342

(Fed. Cir. 2016). As a consequence relative this matter, under VE Holding's

expansive standard, venue was proper in this district at the time this suit

commenced.

      But alas, the nearly three decade long reign of VE Holding came to an abrupt

end on May 22, 2017, when the Supreme Court released its opinion in TC

Heartland. Considering the effects of amendments to § 1391(c) in the years since


                                           5
Case: 4:15-cv-00954-HEA Doc. #: 145 Filed: 05/14/18 Page: 6 of 16 PageID #: 1066



Fourco was decided, the Court concluded that the Federal Circuit had been

incorrect in determining that Congress had intended to move away from the

standard enunciated in that case. See TC Heartland, 137 S. Ct. at 1520-21.

      In TC Heartland, 137 S. Ct. at 1518–19, the U.S. Supreme Court clarified

that the narrower, patent-specific venue statute, 28 U.S.C. § 1400(b), determines

venue in patent infringement suits. Further, the Court held that the general venue

statute, 28 U.S.C. § 1391, under which venue is proper in “any judicial district in

which any defendant is subject to the court's personal jurisdiction,” does not affect

the terms or interpretation of the patent venue statute. Id. Under § 1400(b), venue

for patent infringement actions properly lies either: (1) in the district where the

defendant “resides;” or (2) “where the defendant has committed acts of

infringement and has a regular and established place of business.” 28 U.S.C. §

1400(b).

      Thus, the Court returned patent venue law to its status in Fourco, holding

that “as applied to domestic corporations, ‘reside[nce] in § 1400(b) refers only to

the State of incorporation.” See id. at 1521. Under this newly articulated standard,

the parties do not disagree that TC Heartland is to be retroactively applied, and

therefore venue in this Court is improper, with respect to the Defendants, except

Orschenln Farm and Home, LLC, Stephen Chick and Justin Chic, and against Neil

P. Ziegmann and N.P.Z., Inc., for the Lanham Act violations.


                                           6
Case: 4:15-cv-00954-HEA Doc. #: 145 Filed: 05/14/18 Page: 7 of 16 PageID #: 1067



Transfer Pursuant to 28 U.S.C. § 1406

      As previously noted, 28 U.S.C. § 1400(b) provides that a civil action for

patent infringement may be brought “in [1] the judicial district where the defendant

resides, or [2] where the defendant has committed acts of infringement and has a

regular and established place of business.” Under the dictates of TC Heartland,

Defendants contend that venue in this district is improper, and the case must be

dismissed.

      Pursuant to § 1406(a), the Court must dismiss unless transfer would “be in

the interest of justice.” Here, the Court concludes that it would be. While this case

has not yet progressed to the point of dispositive motions, it has advanced far

enough that it would serve only to delay the progress of justice to require Plaintiff

to start at square one. Cf. Giroir v. MBank Dallas, N.A., 676 F. Supp. 915, 923

(E.D. Ark. 1987) (observing that transfer was most appropriate disposition where

parties had already begun discovery and plaintiff would likely quickly refile).

Accordingly, the Court will exercise its discretion to transfer this case to the proper

District Courts. See 28 U.S.C. § 1406(a).

Defendants Stephen Chick and Justin Chick

      Plaintiff contends that venue is proper in this District because Orscheln Farm

and Home, LLC, Stephen and Justin Chick are residents of Missouri and operate




                                           7
Case: 4:15-cv-00954-HEA Doc. #: 145 Filed: 05/14/18 Page: 8 of 16 PageID #: 1068



several retail stores within the District. In support of this position, Plaintiff

submits his declaration that:

              Jim Thielen and Thielen Marketing, Inc. import Z-Traps from China
      and sell them to distributors throughout the United States, including the
      Rural King store in Wentzville, Missouri and the Orscheln Farm and Home,
      LLC stores in Washington, Missouri, Union Missouri, Wentzville, Missouri
      and Warrenton, Missouri, among other locations. Orscheln Farm and
      Home, LLC and Stephen Chick and Justin Chick, its owner, also own a
      warehouse in Mexico, Missouri, Missouri which distributes Z-Traps to their
      retail stores in Washington, Missouri, Union, Missouri, Wentzville, Missouri
      and Warrenton, Missouri, among other locations.

      This Declaration, however is unsupported by any evidence which

controverts the declarations of Stephen Chick with regard to himself and his son

and ward, Justin Chick. Defendant Stephen Chick unequivocally declares that

neither he nor his son Justin resided within this District at the time of the filing of

the Complaint. Furthermore, as provided in the declarations, both Chick

Defendants are individuals who never operated a regular place of business within

this district. Venue is not proper in this District with regard to Stephen Chick and

Justin Chick.

Orscheln Farm and Home, LLC Motion to Dismiss pursuant to 12(b)(6)

      A motion to dismiss under Rule 12(b)(6) challenges the legal sufficiency of

the complaint. See Carton v. General Motor Acceptance Corp., 611 F.3d 451, 454

(8th Cir. 2010); Young v. City of St. Charles, 244 F.3d 623, 627 (8th Cir. 2001). To

render ineffective a motion to dismiss, the complaint must include “enough facts


                                            8
Case: 4:15-cv-00954-HEA Doc. #: 145 Filed: 05/14/18 Page: 9 of 16 PageID #: 1069



to state a claim to relief that is plausible on its face.” Bell Atlantic Corp. v.

Twombly, 550 U.S. 544, 570 (2007). To meet the plausibility standard, the

complaint must contain “more than labels and conclusions.” Id. at 555. Rather, the

complaint must contain “factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.”

Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949 (2009). The Court must grant all

reasonable inferences in favor of the nonmoving party. Lustgraaf v. Behrens, 619

F.3d 867, 872–73 (8th Cir. 2010).

      A complaint must be liberally construed in the light most favorable to the

plaintiff. Eckert v. Titan Tire Corp., 514 F.3d 801, 806 (8th Cir. 2006). The Court

must accept the facts alleged as true, even if doubtful. Twombly, 550 U.S. at 555.

Thus, a well-pleaded complaint may proceed even if it appears that recovery is

very remote or unlikely. Id.; a complaint alleging patent infringement must satisfy

the facial-plausibility standard from Twombly and Iqbal. See Battle Sports Sci.,

LLC v. Shock Doctor, Inc., 225 F. Supp. 3d 824, 835 (D. Neb. 2016). Young, 244

F.3d at 627.

      “To survive a motion to dismiss” under that applicable standard, Plaintiff’s

Complaint “must contain sufficient factual matter, accepted as true, to ‘state a

claim to relief that is plausible on its face.’” Iqbal, 556 U.S. at 678 (quoting

Twombly, 550 U.S. at 570); accord Addiction & Detoxification Inst. L.L.C. v.


                                            9
Case: 4:15-cv-00954-HEA Doc. #: 145 Filed: 05/14/18 Page: 10 of 16 PageID #: 1070



Carpenter, 620 Fed.Appx. 934, 936 (Fed. Cir. 2015) (unpublished) (“Twombly and

Iqbal require that a complaint for patent infringement contain sufficient factual

allegations such that a reasonable court could, assuming the allegations were true,

conclude that the defendant infringed.”). In evaluating the motion to dismiss,

“[t]he court accepts as true all factual allegations, but is ‘not bound to accept as

true a legal conclusion couched as a factual allegation.’ ” McAdams v. McCord,

584 F.3d 1111, 1113 (8th Cir. 2009) (quoting Iqbal, 556 U.S. at 678). “A claim has

facial plausibility when the plaintiff pleads factual content that allows the court to

draw the reasonable inference that the defendant is liable for the misconduct

alleged.” Iqbal, 556 U.S. at 678.

      A plaintiff need not provide “‘detailed factual allegations,’ ” to meet the

requirements of Federal Rule of Civil Procedure 8(a)(2), but the rule “demands

more than an unadorned, the-defendant-unlawfully-harmed-me accusation.” Iqbal,

556 U.S. at 678 (quoting Twombly, 550 U.S. at 555). A complaint that alleges facts

that are “merely consistent with” a defendant’s liability “stops short of the line

between possibility and plausibility.” Twombly, 550 U.S. at 557. The plaintiff must

provide “sufficient factual information to provide” a basis for their claims “and to

raise a right to relief above a speculative level.” Schaaf v. Residential Funding

Corp., 517 F.3d 544, 549 (8th Cir. 2008). A complaint composed of “labels and




                                           10
Case: 4:15-cv-00954-HEA Doc. #: 145 Filed: 05/14/18 Page: 11 of 16 PageID #: 1071



conclusions, and a formulaic recitation of the elements of the cause of action will

not do.” Twombly, 550 U.S. at 555.

Direct Infringement

      Under 35 U.S.C. § 271(a), “whoever without authority makes, uses, offers to

sell, or sells any patented invention, within the United States or imports into the

United States any patented invention during the term of the patent therefor,

infringes the patent.” “To prove infringement, a plaintiff must prove the presence

of each and every claim element or its equivalent in the accused method or

device.” Star Sci., Inc. v. R.J. Reynolds Tobacco Co., 655 F.3d 1364, 1378 (Fed.

Cir. 2011).

      Plaintiff’s Complaint identifies the patent at issue and generally identifies

the products or product lines he believes might infringe his patent in some way but

does not provide sufficient factual development to make a plausible showing of

infringement or give Defendants meaningful notice of the grounds for his

infringement claims. The Complaint fails to set forth each and every claim

element or its equivalent in the accused devices. As Defendant Orscheln argues, it

is left to guess at which claim or claims of the ‘447 Patent it is alleged to have

infringed, and the manner in which the accused products allegedly practice each

limitation of any such claim.

Induced Infringement


                                          11
Case: 4:15-cv-00954-HEA Doc. #: 145 Filed: 05/14/18 Page: 12 of 16 PageID #: 1072



      “Whoever actively induces infringement of a patent shall be liable as an

infringer.” 35 U.S.C. § 271(b). An induced-infringement claim requires the

defendant to know that the induced acts result in patent infringement. Global–Tech

Appliances, Inc. v. SEB S.A., 563 U.S. 754, 765–66, 131 S.Ct. 2060, 179 L.Ed.2d

1167 (2011). In addition, the plaintiff must establish that it was the defendant's

specific intent to encourage another's infringement. DSU Med. Corp. v. JMS Co.,

471 F.3d 1293, 1306 (Fed. Cir. 2006); Niazi Licensing Corp. v. St. Jude Med. S.C.,

Inc., No. 17-CV-5096 (WMW/BRT), 2018 WL 2002479, at *1 (D. Minn. Apr. 30,

2018).

“For an allegation of induced infringement to survive a motion to dismiss, the

complaint must plead facts plausibly showing that the accused infringer

‘specifically intended [another party] to infringe [the patent] and knew that the

[other party]'s acts constituted infringement.’ Bill of Lading, 681 F.3d at 1339.

Nalco Co. v. Chem-Mod, LLC, 883 F.3d 1337, 1356 (Fed. Cir. 2018).

      The Complaint fails to allege facts that plausibly show Defendants

specifically intended their customers to infringe the '447 patent and that Defendant

knew the customers' actions would constitute infringement. Orscheln Farm and

Home, LLC’s Motion is well taken.

Lanham Act Counts V and VI




                                          12
Case: 4:15-cv-00954-HEA Doc. #: 145 Filed: 05/14/18 Page: 13 of 16 PageID #: 1073



      Defendants urge dismissal of the Lanham Act Counts, Counts V and VI

because the Complaint fails to allege bad faith. The Court agrees. “Because of the

tension between federal patent law and a Lanham Act claim for unfair competition,

Zenith [Elecs. Corp. v. Exzec, Inc. 182 F.3d] at 1352–53, this court previously

concluded that it will impose § 43(a) liability on a patentee for marketplace

statements only if the statements are proven to have been made in bad faith, id. at

1354–55.” Serio-US Indus., Inc. v. Plastic Recovery Techs. Corp., 459 F.3d 1311,

1321 (Fed. Cir. 2006). Plaintiff’s Lanham Act counts will be dismissed for failure

to state a claim.


                                  CONCLUSION

      Based on the foregoing, and all the files, records, and proceedings herein,

the motions are well taken.

      Accordingly,

      IT IS HEREBY ORDERED Motion to Dismiss Party for Improper Venue

Under Rule 12(b)(3) by Defendant Justin Chick, [Doc. No. 84], Motion to Dismiss

Party for Improper Venue Under Rule 12(b)(3), Failure to State a Claim under

Rule (b)(6), and Lack of Personal Jurisdiction Under Rule 12(b)(2) by Defendant

Jay Berlin. [Doc. No. 86], Motion to Dismiss Party for Improper Venue Under

Rule 12(b)(3) and Failure to State a Claim Under Rule (b)(6) by Defendant

Stephen Chick, [Doc. No. 88], Motion to Dismiss Party for Improper Venue Under

                                         13
Case: 4:15-cv-00954-HEA Doc. #: 145 Filed: 05/14/18 Page: 14 of 16 PageID #: 1074



Rule 12(b)(3), Failure to State a Claim under Rule 12(b)(6) and Lack of Personal

Jurisdiction under 12(b)(2) by Defendant Jeb Hollingshead, [Doc. No. 90], Motion

to Dismiss Party for Improper Venue, Failure to State a Claim for Personal

Liability and Lack of Personal Jurisdiction by Defendant John Chagnon, [Doc. No.

92], Motion to Dismiss Party for Improper Venue and Lack of Personal

Jurisdiction by Defendant Fleming Outdoors, LLC., [Doc. No. 94], Motion to

Dismiss Party for Improper Venue Under Rule 12(b)(3) and Lack of Personal

Jurisdiction Under 12(b)(2) by Defendant Okie Cable & Trap Supply, LLC., [Doc.

No. 96], Motion to Dismiss Party for Improper Venue Under Rule 12(b)(3) and

Lack of Personal Jurisdiction Under Rule 12(b)(2) by Defendant Phoenix

Composite Solutions, Inc.., [Doc. No. 98], Motion to Dismiss Party for Improper

Venue and Lack of Personal Jurisdiction by Defendant Cumberland's Northwest

Trappers Supply, Inc.. [Doc. No. 100], Motion to Dismiss Party for Improper

Venue Under Rule 12(b)(3) and Lack of Personal Jurisdiction Under 12(b)(2) by

Defendant The Sportsman's Guide, Inc.. [Doc. No. 104], Motion to Dismiss Party

for Improper Venue, Failure to State a Claim for Personal Liability and Lack of

Personal Jurisdiction by Defendant Tina Schultz.[Doc. No. 107], Motion to

Dismiss Party for Failure to State a Claim Upon Which Relief Can Be Granted by

Defendant Orscheln Farm and Home, LLC., [Doc. No 110], Motion to Dismiss

Party for Improper Venue, Failure to State a Claim for Personal Liability, and Lack


                                        14
Case: 4:15-cv-00954-HEA Doc. #: 145 Filed: 05/14/18 Page: 15 of 16 PageID #: 1075



of Personal Jurisdiction by Defendant James Thielen, [Doc. No. 111], Motion to

Dismiss Party for Improper Venue, Failure to State a Claim for Personal Liability,

and Lack of Personal Jurisdiction by Defendant Eric Fleming, [Doc. No. 114],

Motion to Dismiss Party for Improper Venue and Lack of Personal Jurisdiction by

Defendant Thielen Marketing, Inc., [Doc. No 117], Motion to Dismiss Party for

Improper Venue Under Rule 12(b)(3), Failure to State a Claim Under Rule

12(b)(6), and Lack of Personal Jurisdiction Under 12(b)(2) by Defendant Neil P.

Ziegmann, Doc. No. 119], and Motion to Dismiss Party for Improper Venue Under

Rule 12(b)(3), Lack of Personal Jurisdiction Under Rule 12(b)(2), and Failure to

State a Claim Under Rule 12(b)(6) by Defendant N.P.Z., Inc.., [Doc. No 122], are

granted.

      IT IS FURTHER ORDERED that The Patent infringement claims against

Neil P. Ziegmann and N.P.Z., Inc. are transferred to the Northern District, Western

Division of Iowa.

      The Patent infringement claims against Tina Dugan f/k/a Tina Schultz are

transferred to the Northern District, Central Division of Iowa.

      The Patent infringement claims against James R. Thielen, Thielen

Marketing, Inc., The Sportsman’s Guide, Inc., Jay Berlin and Cumberland’s

Northwest Trappers Supply, Inc. are transferred to the District of Minnesota.




                                         15
Case: 4:15-cv-00954-HEA Doc. #: 145 Filed: 05/14/18 Page: 16 of 16 PageID #: 1076



       The Patent infringement claims against Phoenix Composite Solutions, Inc.

d/b/a PCS Outdoors and John Chagnon are transferred to the Eastern District of

Michigan.

       The Patent infringement claims against Jeb Hollingshead and Okie Cable &

Trap Supply, LLC are transferred to the Eastern District of Oklahoma.

       The Patent infringement claims against Fleming Outdoors, LLC and James

Eric Fleming a/k/a Jim Fleming are transferred to the Middle District of Alabama.

       The Patent infringement claims against Stephen Chick and Justin Chick are

transferred to the Western District of Missouri.

       IT IS FURTHER ORDERED the patent infringement claims against

Orscheln Farm and Home, LLC, is dismissed for failure to state a claim.

       IT IS FURTHER ORDERED the Lanham Act claims (Counts V and VI)

against Neil P. Ziegmann and N.P.Z., Inc. are dismissed for failure to state a claim.

       IT IS FURTHER ORDERED that Plaintiff is given 10 days from the date

of this Opinion, Memorandum and Order to amend the claims remaining in this

District.

       Dated this 14th day of May, 2018.



                                              HENRY EDWARD AUTREY
                                            UNITED STATES DISTRICT JUDGE


                                           16
